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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN


 FAIR HOUSING CENTER OF
 METROPOLITAN DETROIT and
 DAR’SHA L. HARDY,

                Plaintiffs,                          Case No. 5:16-cv-12140-JCO-MKM

 v.                                                  Hon. John Corbett O'Meara

 IRON STREET PROPERTIES, LLC, et al.

                Defendants,

 _____________________________________/
 Stephen A. Thomas (P43260)                          Ben M. Gonek (P43716)
 Attorney for Plaintiff                              Law Offices of Ben M. Gonek, PLLC
 645 Griswold St., Ste. 1360                         Attorney for Defendants
 Detroit, MI 48226                                   500 Griswold Street, Ste. 3500
 (313) 965-2265                                      Detroit, MI 48226
 sthomas@313965Bank.com                              (313) 962-4559

                                                     Joseph A. Ahern (P38710)
                                                     Daniel C. DiCicco (P71299)
                                                     AHERN KILL P.C.
                                                     Co-Counsel for Defendants
                                                     430 N. Old Woodward, Second Floor
                                                     Birmingham, MI 48009
                                                     (248) 723-6101


                     APPEARANCE OF DANIEL C. DICICCO
 ______________________________________________________________________________


        PLEASE TAKE NOTICE that Daniel C. DiCicco of the law firm of Ahern & Kill, PC,

 hereby enters his appearance as co-counsel of record for Iron Street Properties, LLC, et al. and

 consents to electronic services of all papers in this action. The undersigned certifies that he is

 admitted to practice in this Court.




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                                               Respectfully Submitted,

                                               AHERN & KILL, P.C.

                                               /s/ Daniel C. DiCicco
                                               JOSEPH A. AHERN (P38710)
                                               DANIEL C. DICICCO (P71299
                                               Ahern & Kill, PC
                                               430 N. Old Woodward, Second Floor
                                               Birmingham, MI 48009
                                               (248) 723-6101
                                               ddicicco@ahernkill.com




                                  CERTIFICATE OF SERVICE


        I hereby certify that on January 23, 2018, I electronically filed APPEARANCE OF
 DANIEL C. DICICCO and CERTIFICATE OF SERVICE with the Clerk of the Court using
 the ECF system which will send notification of such filing to all parties of record. I certify under
 penalty of perjury that the foregoing is true and correct.


                                               /s/Daniel C. DiCicco
                                               Daniel C. DiCicco




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